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UNITED STATES DISTRICT COURT

39 . L295 4 NESBHT

21 USC 841 (a) (1)
21 USC 846
18 USC 2

 

WAGIST RATE
UNITED STATES OF AMERICA TURNGOFE

Vv. INDICTMENT

THOMAS BROWN

 

The Grand Jury charges that:
COUNT I
On or about April 18, 1989, at Miami, Dade County, in the
Southern District of Florida, the defendant,
THOMAS BROWN,
did knowingly and intentionally possess with intent to
distribute a Schedule II narcotic controlled substance, that is,
at least five (5) kilograms of a mixture and substance containing
a detectable amount of cocaine and its salt, cocaine
hydrochloride; in violation of Title 21, United States Code,
Section 841(a) (1) and Title 18, United States Code, Section 2.
COUNT II
From on or about April 10, 1989, the exact date being

unknown to the grand jury, to on or about April 18, 1989, at
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Miami, Dade County, in the Southern District of Florida, and
lsewhere, the defendant,

THOMAS BROWN,
did knowingly and intentionally combine, conspire, confederate
and agree with persons known and unknown to the Grand Jury to
possess with intent to distribute a Schedule II narcotic
controlled substance, that is, at least five (5) kilograms of a
mixture and substance containing a detectable amount of cocaine
and its salt, cocaine hydrochloride, in violation of Title 21,
United States Cede, Section 841(a) (1).

In violation of Title 21, United States Code, Section 846.

A TRUE BILL

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“DEXTER W. LEHTINEN
UNITED STATES ATTORNEY

 
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- | UNITED STATES DISTh.- f courr

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UNITED STATES OF AMERICA

Vv. )

THOMAS BROWN ) ESTIMATED TRIAL TIME

‘ )

MAGISTRATE
» TURNOFF

 

CERTIFICATE OF TRIAL ATTORNEY

I do hereby certify:

1. I have carefully considered the allegations of the indictment,
the mmber of defendants, the number of probable witnesses and the legal
complexities of the indictment/informatiaon attached hereto.

2. I am aware that the information supplied on this statement will
be relied upon by the Judges of this Court in setting their calendars and
scheduling criminal trials uncer the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.

3. This case will take 23 days for the parties to try.

4. (Check the appropriate category)
K I 0 to 5 days

oe ‘6 to 10 days
III 11 to 20 days
IV 21 to 60 days

Vv 61 days and over

 

‘5. Has this case been previously filed in this Court?_", (Yes or No)
If yes, Judge: (Attach copy of
Case No: dispositive order)

 

6. This case originated in the U.S. Attorney's office prior to August 16,

1985 A)e (Yes or No)

ALLAN q: SULLIVAN
